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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                   SOUTHERN DIVISION


 Delcid, et al.
                                                              Case No. 8:20-CV-03167-MJM
                    Plaintiffs,

 Isabella, et al.

                    Defendants.



                   ORDER GRANTING PRELIMINARY APPROVAL
              OF CLASS AND COLLECTIVE ACTION SETTLEMENT AND
               CERTIFICATION OF THE PROPOSED RULE 23 CLASSES

       Plaintiffs Lucas Delcid, Danielle Harris, and Milena Radulovic, FLSA Opt-In Plaintiffs,

Rule 23 Class Members, and Defendant Johannes Allender (collectively, the “Parties”) have

executed a Settlement Agreement. On January 13, 2023, the Plaintiffs filed a Motion for

Preliminary Approval of Class and FLSA Collective Action Settlement and Certification of the

Proposed Rule 23 Classes (the “Motion”).

       The Court has considered the Motion, the terms of the Settlement Agreement, and all

exhibits thereto, and upon review, the Court finds that there is sufficient basis to: (i) grant

preliminary approval of the Agreement; (ii) certify the proposed Rule 23 Settlement Classes for

purposes of the Settlement; and (iii) appoint Plaintiffs’ Counsel as class counsel for purposes of

the Settlement Agreement.

IT IS HEREBY ORDERED AS FOLLOWS:

       1.         All terms in initial capitalization used in this Order shall have the same meanings

as set forth in the Settlement Agreement, unless otherwise defined herein.

       2.         The Motion is hereby GRANTED.
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I.      PRELIMINARY APPROVAL OF SETTLEMENT AGREEMENT

        3.       The Court has reviewed the Motion, the Settlement Agreement, and all exhibits

thereto and finds that the Settlement Agreement falls within the range of reasonableness. The

Court therefore preliminarily approves its terms, hereby concluding that: (i) the Settlement

reflects a fair and reasonable resolution of a bona fide dispute of the claims brought by Plaintiffs

and arising under the FLSA; and (ii) the Settlement is a result of vigorous arms-length

negotiations undertaken in good faith by the Parties through experienced counsel and without

collusion.

        4.       Accordingly, the Court preliminarily approves the Agreement as fair, reasonable,

adequate, and in the best interests of the Plaintiffs.

II.     CERTIFICATION OF THE PROPOSED RULE 23 SETTLEMENT CLASSES

        5.       The Court certifies, for settlement purposes only, the following Settlement

 Classes:

                 Unpaid Wages Class. Persons who were Defendants’ employees, who worked at
                 Requin, and who did not receive wages for their work for Defendants during their
                 employment at Requin.

                 Unpaid Overtime Class. Persons who were Defendants’ employees, who worked
                 at Requin, and who did not receive overtime pay for their overtime work for
                 Defendants during their employment at Requin.

        6.       The Court finds that the requirements of Federal Rule of Civil Procedure 23(a)

 and 23(b)(3) have been satisfied.

        7.       All members of the Settlement Class that do not request to be excluded shall be

 bound by all determinations and judgment in the Action concerning the settlement.




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III.   APPOINTMENT OF CLASS COUNSEL

       8.       Pursuant to Federal Rule of Civil Procedure 23(g), the Court hereby appoints

Axinn, Veltrop & Harkrider LLP and Washington Lawyers’ Committee for Civil Rights and

Urban Affairs as counsel for the Settlement Classes.

       9.       Plaintiffs will serve as class representative on behalf of the Settlement Class.



SO ORDERED this 21st           day of     March       , 2023.




                                                                  /S/
                                               __________________________________________
                                               U.S. District Magistrate Judge Matthew J. Maddox




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